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 8                                UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11      THOMAS SCHMITZ, et al.,                     No. 2:20-cv-0195-DJC-CKD (PS)
12                      Plaintiffs,
13            v.                                    ORDER
14      ADAM ASMAN, et al.,
15                      Defendants.
16

17           This matter was referred to a United States Magistrate Judge pursuant to Local

18     Rule 302(c)(21). On May 23, 2025, the magistrate judge filed findings and

19     recommendations herein which contained notice that any objections to the findings

20     and recommendations were to be filed within fourteen days. (ECF No. 420.) No party

21     has filed objections, but non-attorney guardian ad litem Joseph Schmitz, MD, filed a

22     document styled as objections purportedly on behalf of plaintiff Thomas Schmitz.

23     (ECF No. 427.) Defendants filed a reply. (ECF No. 433.)

24           In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule

25     304, this court has conducted a review of this case. Having carefully reviewed this

26     matter, the court finds the findings and recommendations to be supported by the

27     record and by proper analysis. Responding to the purported objections which

28     request “clarification regarding accommodations for cognitive impairments” (ECF No.
                                                   1
     Case 2:20-cv-00195-DJC-CKD          Document 434      Filed 06/25/25    Page 2 of 2


 1     427 at 2–3), the Court observes that request is more properly made to the assigned

 2     Magistrate Judge in the first instance.

 3             Accordingly, IT IS HEREBY ORDERED as follows:

 4              1. The findings and recommendations filed May 23, 2025 (ECF No. 420) are

 5                 adopted in full.

 6              2. Defendants’ motion to dismiss plaintiff Thomas Schmitz’s claims for failure to

 7                 prosecute (ECF No. 409) is DENIED without prejudice.

 8              3. Plaintiff Schmitz is cautioned that the six-month stay of his claims pursuant to

 9                 the court’s October 15, 2024 order has ended.

10              4. Plaintiff Schmitz shall file any appearance of counsel within 30 days of this

11                 order.

12              5. This matter is referred back to the assigned Magistrate Judge for all further

13                 pretrial proceedings.

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               IT IS SO ORDERED.
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16     Dated:       June 24, 2025
                                                      Hon. Daniel J. Calabretta
17                                                    UNITED STATES DISTRICT JUDGE
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